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 5
     Attorney for Defendant
     RICARDO VENEGAS
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                        )       No. CR-S-06-0441 GEB
                                                      )
10
                                                      )
            Plaintiff,                                )       STIPULATION AND
11
                                                      )       [PROPOSED ORDER] CONTINUING
     v.                                               )       STATUS CONFERENCE
12
                                                      )
     WENDALL STEWART, et al,                          )
13
                                                      )
                                                      )       Judge: Honorable Garland E. Burrell, Jr.
14          Defendants.                               )
                                                      )
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                                                      )
                                                      )
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17
            IT IS HEREBY stipulated between the United States of America through its undersigned
18
     counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for defendant
19
     Ricardo Venegas, John R. Manning, Esq., counsel for defendant Wendell Stewart, Candace A.
20
     Fry, Esq., counsel for defendant Valerie White, William E. Bonham, Esq., and counsel for
21
     defendant Isauro Jauregui Catalan, Edward C. Bell, Esq., that the status conference presently set
22
     for March18, 2011 be continued to April 8, 2011, at 9:00 a.m., thus vacating the presently set
23
     status conference.
24
            Counsel for the parties agree that this is an appropriate exclusion of time within the
25
     meaning of Title 18, United States Code§ 3161(h)(7)(B)(iv) (continuity of counsel/ reasonable
26
     time for effective preparation, specifically the continuance is requested to allow more time for
27
     defense preparation and possible negotiations for resolution) and Local Code T4, and agree to
28
     exclude time from the date of the filing of the order until the date of the status conference,


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 1   April 8, 2011.
 2   IT IS SO STIPULATED.
 3
     Dated: March 16, 2011                             /s/ John R. Manning
 4                                                    JOHN R. MANNING
                                                      Attorney for Defendant
 5                                                    Ricardo Venegas
 6
     Dated: March 16, 2011                            /s/ Candace A. Fry
 7                                                    CANDACE A. FRY
                                                      Attorney for Defendant
 8                                                    Wendell Stewart
 9
     Dated: March 16, 2011                            /s/ William E. Bonham
10                                                    WILLIAM E. BONHAM
                                                      Attorney for Defendant
11                                                    Valerie White
12
     Dated: March 16, 2011                             /s/ Edward C. Bell
13                                                    EDWARD C. BELL
                                                      Attorney for Defendant
14
                                                      Isauro Jauregui Catalan
15

16   Dated: March 16, 2011                            Benjamin B. Wagner
                                                      United States Attorney
17

18                                              by:   /s/ Jill M. Thomas
                                                      JILL M. THOMAS
19                                                    Assistant U.S. Attorney
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                             IN THE UNITED STATES DISTRICT COURT
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                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,                       ) No. CR-S-06-0441 GEB
                                                     )
10
                                                     )
            Plaintiff,                               ) [PROPOSED] ORDER TO
11
                                                     ) CONTINUE STATUS CONFERNCE
     v.                                              )
12
                                                     )
     WENDALL STEWART, et al.,                        )
13
                                                     )
                                                     )
14          Defendants.                              )
                                                     )
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                                                     )
                                                     )
16

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18
            GOOD CAUSE APPEARING, it is hereby ordered that the March 18, 2011 status
19
     conference be continued to April 8, 2011 at 9:00 a.m. I find that the ends of justice warrant an
20
     exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for
21
     effective preparation exceeds the public interest in a trial within 70 days. THEREFOR IT IS
22
     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv) and
23
     Local Code T4 from the date of this order to April 8, 2011.
24
     IT IS SO ORDERED.
25
     Date: 3/21/2011
26

27                                                        _________________________
                                                          GARLAND E. BURRELL, JR.
28                                                        United States District Judge


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 2   DEAC_Signature-END:




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